  8:00-cr-00357-JFB-TDT          Doc # 84   Filed: 08/02/05   Page 1 of 1 - Page ID # 75



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                   )          Case No. 8:00CR357
                                            )
                    Plaintiff,              )
                                            )
      v.                                    )                  ORDER
                                            )
SANDRA ROBBINS,                             )
                                            )
                    Defendant.              )


      Before the court is defendant's oral motion for release to the NOVA Program made
at the July 13, 2005, hearing in this case. Defense counsel has now notified the court the
a placement is ready for defendant beginning Wednesday, August 3, 2005. Accordingly,
      IT IS ORDERED:
      1.     The final disposition hearing remains scheduled for November 18, 2005, at
             9:00 a.m.
      2.     On Wednesday, August 3, 2005, the defendant is to be released to NOVA
             T.C., 3473 Larimore Avenue, Omaha, Nebraska, for inpatient treatment, and
             is ordered to remain and participate in its program and obey all rules of the
             program.
      3.     The defendant is released from the custody of the United States Marshal after
             processing.
      4.     That the defendant will also abide by all the terms and conditions of her
             supervised release previously imposed.
      DATED this 2nd day of August, 2005.

                                            BY THE COURT:



                                            s/Joseph F. Bataillon
                                            JOSEPH F. BATAILLON
                                            UNITED STATES DISTRICT JUDGE
